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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

 KYSS BURTON,
 by her mother, Sakia Hall, as next friend,
 SAKIA HALL,

                                        Plaintiffs,               Action No. 3:11-CV-65

         v.

 HAROLD FORD,

                                      Defendant.

                                              ORDER

       THIS MATTER is before the Court on the Motion to Withdraw Motion to Compel

filed by Defendant Harold Ford. (Doc. No. 11.) Defendant moves the Court to withdraw

the Motion to Compel he filed May 17, 2011. Upon due consideration, the Motion to

Withdraw is HEREBY GRANTED. The Clerk is DIRECTED to terminate the Motion to

Compel (Doc. No. 7).

       Let the Clerk send a copy of this Order to all counsel of record.

       It is SO ORDERED.




                                                          ___________________/s/________________
                                                          James R. Spencer
                                                          Chief United States District Judge




ENTERED this 15th            day of June 2011

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